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                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                      NORTHWESTERN DIVISION


PAMELA D. GILBERT,                         )
                                           )
      Plaintiff,                           )
                                           )    Civil Action Number
vs.                                        )    3:18-cv-01007-AKK
                                           )
ALABAMA DEPARTMENT OF                      )
HUMAN RESOURCES, NANCY                     )
BUCKNER AND CINDY L.                       )
BRATCHER,
                                           )
      Defendants.                          )


                   MEMORANDUM OPINION AND ORDER
      Pamela D. Gilbert, proceeding pro se, brings this action against her former

employer, the Alabama Department of Human Resources (“DHR”); Nancy

Buckner, the Commissioner of DHR; and Cindy L. Bratcher, the Director of the

Lauderdale County Department of Human Resources, asserting claims under Title

VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et seq. (“Title VII”) and

the Age Discrimination in Employment Act of 1967, 29 U.S.C. §§ 621 et seq.

(“ADEA”). Docs. 1, 11. This action is before the court on the defendants’ motion

to dismiss Gilbert’s Amended Complaint. Doc. 13. The motion is fully briefed

and ripe for review, see docs. 8, 12, 13, and is due to be granted in part.
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I.    STANDARD OF REVIEW

      Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain “a

short and plain statement of the claim showing that the pleader is entitled to relief.”

“[T]he pleading standard Rule 8 announces does not require ‘detailed factual

allegations,’ but it demands more than an unadorned, the-defendant-unlawfully-

harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).                Mere “‘labels and

conclusions’” or “‘a formulaic recitation of the elements of a cause of action’” are

insufficient.   Id. at 678 (quoting Twombly, 550 U.S. at 555).           “Nor does a

complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual

enhancement.’” Id. (quoting Twombly, 550 U.S. at 557).

      Federal Rule of Civil Procedure 12(b)(6) permits dismissal when a

complaint fails to state a claim upon which relief can be granted. When evaluating

a motion brought under Rule 12(b)(6), the court accepts “the allegations in the

complaint as true and construe[s] them in the light most favorable to the plaintiff.”

Hunt v. Aimco Props., L.P., 814 F.3d 1213, 1221 (11th Cir. 2016). However, “[t]o

survive a motion to dismiss, a complaint must . . . ‘state a claim to relief that is

plausible on its face.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570).

A complaint states a facially plausible claim for relief “when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the


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defendant is liable for the misconduct alleged.” Id. In other words, the complaint

must establish “more than a sheer possibility that a defendant has acted

unlawfully.” Id.; see also Twombly, 550 U.S. at 555. Ultimately, this inquiry is a

“context-specific task that requires the reviewing court to draw on its judicial

experience and common sense.” Iqbal, 556 U.S. at 679. Additionally, because

Gilbert is proceeding pro se, the court must construe the complaint more liberally

than it would pleadings drafted by lawyers. Hughes v. Rowe, 449 U.S. 5, 9 (1980);

Boxer X v. Harris, 437 F.3d 1107, 1110 (11th Cir. 2006) (“Pro se pleadings are

held to a less stringent standard than pleadings drafted by attorneys and will,

therefore, be liberally construed.”).

II.    RELEVANT FACTUAL AND PROCEDURAL BACKGROUND 1

       Gilbert, an African-American woman over the age of 40, worked for DHR

from 1996 until her discharge in 2017. Doc. 11 at 2. During her employment,

Gilbert “reported to management that she was working in a hostile work

environment created by [] Bratcher and Jennifer Bolton Bittinger . . . ,” her

supervisors who were both Caucasian women.                Id.   Allegedly, Bratcher and

Bittinger verbally degraded Gilbert to her Caucasian subordinates and provided

those subordinates with training they denied Gilbert. Id. at 3. In addition, DHR

moved Gilbert’s desk to physically isolate her after she complained about the

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         The court recites the facts as alleged in Gilbert’s Amended Complaint. See Grossman
v. Nationsbank, N.A., 225 F.3d 1228, 1231 (11th Cir. 2000) (citation omitted).
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denial of training opportunities. Id. After Gilbert “asked for training, written

guidelines and examples of work responsibilities,” her supervisors told Gilbert that

she should take leave under the Family Medical Leave Act (“FMLA”) based on

their perception that Gilbert had a mental disability or psychiatric disorder. Id.

However, Gilbert could not find a doctor to approve her FMLA leave at that time

because her doctor did not believe she had a mental illness. Id. at 3, 6. Ultimately,

Gilbert “made only one request for FMLA in July 2017,” which Bratcher denied

even though she approved FMLA requests made by “younger, white females . . .

for minor events.” Id. at 7.2

      Gilbert reported her supervisors “to the state HR EEOC . . . , but

management failed to discuss” her concerns. Id. at 4. Instead, her supervisors set a

due process hearing regarding her work performance, rescheduled the hearing

several times over a period of months, and placed multiple notices on a conference

room door regarding the hearing. Id. The supervisors retaliated against Gilbert

“with write-ups, work assignments, delayed vacation requests, denied FMLA, and

ultimately [the] adverse action of termination . . . .” Id. Moreover, the supervisors

withdrew an offer to allow Gilbert to step down to a different position and

department, and while Gilbert was on FMLA leave, discharged her less than two

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          DHR contends that Gilbert’s FMLA requests contradict her allegation that she made
only one request for FMLA in July 2017. Doc. 13 at 2. Indeed, documents Gilbert attached to
her Complaint include two FMLA requests: an undated request signed by Dr. Eric Santiago and
a request dated October 17, 2018 signed by Dr. Dwight Matthew. See doc. 1-3.
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years before her retirement and replaced her with a younger, Caucasian woman.

Id. at 4, 7-8.

III.   ANALYSIS

       Gilbert asserts claims for violations of Title VII and the ADEA in her

Amended Complaint. Briefly, Title VII prohibits employers from discriminating

“against any individual with respect to his compensation, terms, conditions, or

privileges of employment, because of such individual’s race, color, religion, sex, or

national origin,” 42 U.S.C. § 2000e-2(a)(1), while the ADEA prohibits employers

from discriminating on the basis of age, 29 U.S.C. § 623(a). Title VII and the

ADEA also prohibit employers from retaliating against an employee for engaging

in activities protected by the acts. 42 U.S.C. § 2000e-3(a); 29 U.S.C. § 623(d).

The defendants have moved to dismiss all claims, arguing that Gilbert has failed to

plead viable claims.

       A.        Claims Against the Individual Defendants

       The defendants argue correctly that Gilbert may not pursue claims against

Buckner and Bratcher indidvidually. Indeed, the relief provided under Title VII

and the ADEA is against the employer rather than co-workers or supervisors in

their individual capacity. See 42 U.S.C. § 2000e-2(a); 29 U.S.C. § 623(a); Smith v.

Lomax, 45 F.3d 402, 402 n.4 (11th Cir. 1995) (noting that individuals “cannot be

held liable under the ADEA or Title VII”) (citations omitted); Busby v. City of


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Orlando, 931 F.2d 764, 772 (11th Cir. 1991) (“[R]elief granted under Title VII is

against the employer, not individual employees whose actions would constitute a

violation of the act.”) (emphasis in original).3 Thus, to the extent the Amended

Complaint asserts claims against Buckner and Bratcher, the claims are due to be

dismissed pursuant to Rule 12(b)(6).

       B.      Claims Against DHR

       The defendants raise multiple arguments in support of dismissal of the

claims against DHR.            As an initial matter, DHR argues that the Eleventh

Amendment bars any recovery for monetary damages against it. Doc. 8 at 16.

DHR’s argument is unavailing in part because Congress abrogated states’ Eleventh

Amendment immunity from Title VII suits. Fitzpatrick v. Bitzer, 427 U.S. 445,

447-48 (1976); In re Employment Discrimination Litig. Against State of Ala., 198

F.3d 1305, 1317 (11th Cir. 1999) (“[W]e have no hesitation in concluding that

Congress unequivocally expressed its intent to abrogate the state’s Eleventh

Amendment immunity when it amended Title VII to cover state and local

governments.”). However, DHR is correct that Gilbert cannot recover punitive

damages against it. See 42 U.S.C. § 1981a(b) (precluding the recovery of punitive

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         Gilbert’s claims against the individual defendants in their official capacities as agents of
DHR, if any, are due to be dismissed as redundant of her claims against DHR. See Kentucky v.
Graham, 473 U.S. 159, 166-67 (1985) (“Official capacity suits represent [] only another way of
pleading an action against an entity of which an officer is an agent.”). See also Cross v. State of
Alabama, State Dep’t of Mental Health & Mental Retardation, 49 F.3d 1490, 1504 (11th Cir.
1995) (finding that a supervisor may be sued in her official capacity because the claim is, in
essence, a claim against the employer).
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damages from “a government, government agency, or political subdivision”);

Alexander v. Fulton County, Ga., 207 F.3d 1303, 1322 (11th Cir. 2000), overruled

on other grounds by Manders v. Lee, 338 F.3d 1304 (11th Cir. 2003); Booth v.

Pasco Cty., Fla., 757 F.3d 1198, 1206 n.12 (11th Cir. 2014). Thus, Gilbert’s

claims for punitive damages are due to be dismissed.

      DHR also challenges the merits of the claims on multiple grounds, which the

court addresses below.

             1.    Whether Gilbert alleged a plausible discrimination claims
      DHR argues that Gilbert failed to state plausible discrimination claims

because she did not allege sufficient facts to state a prima facie case. Doc. 8 at 24.

But, “a Title VII [or ADEA] complaint need not allege facts sufficient to make out

a classic McDonnell Douglas prima facie case;” rather, all that is required is that

the complaint “must provide ‘enough factual matter (taken as true) to suggest’

intentional [] discrimination.” Davis v. Coca-Cola Bottling Co., 516 F.3d 955, 974

(11th Cir. 2008) (citations omitted). Gilbert has made this showing.

      First, as to her Title VII race and color discrimination claims, Gilbert alleges

that DHR denied her training that it provided to her Caucasian colleagues and

subordinates and that DHR “significantly inflated” her work duties in comparison

to those of her Caucasian peers. Doc. 11 at 3, 6. See also doc. 1-1 at 3. Contrary

to DHR’s contention otherwise, see doc. 8 at 24, at this stage in the case, these


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allegations are sufficient to suggest that DHR treated similarly situated employees

outside of Gilbert’s protected class more favorably.           Moreover, construing

Gilbert’s allegations liberally, they are sufficient to show that Gilbert suffered an

adverse employment action if the denial of training opportunities affected her

salary or promotion opportunities, or if the change in her work duties interfered

with her ability to perform her job. See Crawford v. Carroll, 529 F.3d 961, 970

(11th Cir. 2008) (recognizing that adverse employment actions include conduct

that “alter[s] the employee’s compensation . . . , deprive[s] him or her of

employment opportunities, or adversely affect[s] his or her status as an employee”)

(quotation omitted). Thus, because Gilbert is a member of a protected class and

her work history suggests she was qualified for her job, see doc. 11 at 2, Gilbert

has alleged plausible race and color discrimination claims under Title VII.

      Second, for the same reasons, Gilbert has also pleaded an adequate claim for

age discrimination through her contentions that Bratcher denied her FMLA request

and approved requests submitted by younger employees, and that DHR discharged

her less than two years before her retirement and replaced her with a younger

employee. Doc. 11 at 4-5, 7-9. Viewed in the light most favorable to Gilbert,

these allegations are sufficient at this juncture to suggest intentional discrimination

based on Gilbert’s age. See Davis, 516 F.3d at 974.




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               2.    Whether Gilbert alleged plausible hostile work environment
                     claims

       In support of her hostile work environment claims, 4 Gilbert asserts that her

supervisors (1) verbally degraded her in front of her Caucasian subordinates,

(2) denied her opportunities to attend training they provided to her Caucasian

subordinates, (3) instructed her to apply for FMLA leave based on their perception

that she had a mental illness, (4) gave her a referral for mental health treatment,

(5) denied a subsequent request for FMLA leave, (6) moved her work area to

physically isolate her, (7) increased her work load, (8) repeatedly rescheduled an

administrative hearing regarding her job performance, and (9) placed multiple

notices about the hearing on a conference room door. Doc. 11 at 3-4, 6-9. See also

doc. 1-1 at 3-4. Viewed in the light most favorable to Gilbert, these allegations are

sufficient to suggest that Gilbert’s supervisors harassed her based on her race or

color, and that the alleged harassment may have risen to the severity level

necessary to alter the terms and conditions of Gilbert’s employment. Thus, Gilbert

has stated a facially plausible hostile work environment claim under Title VII.

       However, these allegations fall short of pleading a plausible hostile work

environment claim under the ADEA because Gilbert has not pleaded any fact to


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         To prove her claim, Gilbert must show that she belongs to a protected group, she was
subjected to unwelcome harassment based on her membership in the protected group, the
harassment was severe or pervasive enough to alter the terms and conditions of her employment,
and DHR is responsible for the harassment. Jones v. UPS Ground Freight, 683 F.3d 1283, 1292
(11th Cir. 2012) (quotation omitted).
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suggest her supervisors harassed her based on her age. Therefore, that claim is due

to be dismissed.

             3.    Whether Gilbert alleged plausible retaliation claims

      Finally, Gilbert alleges that after she filed an EEOC charge and complained

internally of a hostile work environment, her supervisors retaliated against her by

issuing disciplinary write-ups, delaying her vacation requests, dening her FMLA

request, and discharging her. Doc. 11 at 2, 4-5, 7-8. Viewing the allegations in the

light most favorable to Gilbert and construing the complaint liberally, as the court

must at this stage in the litigation, Gilbert’s allegations are sufficient to show she

suffered an adverse employment action and that there is a causal connection

between the adverse action and her protected conduct.           See, e.g., Litman v.

Secretary of the Navy, 703 Fed. Appx. 766, 770 (11th Cir. 2017) (citing Pipkins v.

City of Temple Terrace, 267 F.3d 1197, 1201 (11th Cir. 2001) and Weeks v.

Harden Mfg. Corp., 291 F.3d 1307, 1311 (11th Cir. 2002)) (outlining elements for

a prima facie case of retaliation).     As a result, Gilbert has alleged plausible

retaliation claims under Title VII and the ADEA.

IV.   CONCLUSION AND ORDER

      For all these reasons, Gilbert’s motion to amend her complaint, doc.10, is

GRANTED, and the defendants’ motion to dismiss Gilbert’s original complaint,

doc. 8, is MOOT.


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      The defendants’ motion to dismiss Gilbert’s amended complaint, doc. 13, is

GRANTED as to (1) the claims against the Bratcher and Buckner, (2) the claims

for punitive damages, and (3) the hostile work environment claim under the

ADEA. Gilbert’s Title VII and ADEA claims against Bratcher and Buckner and

her claims for punitive damages are DISMISSED WITH PREJUDICE, and her

hostile work environment claim under the ADEA is DISMISSED WITHOUT

PREJUDICE. In all other respects, the motion to dismiss is DENIED.

      DHR shall answer the Amended Complaint by January 2, 2019.

Thereafter, the parties will have three months to conduct discovery and should

begin now to take the necessary steps to ensure that they are able to comply with

the court’s deadlines.

      DONE the 12th day of December, 2018.


                                     _________________________________
                                              ABDUL K. KALLON
                                       UNITED STATES DISTRICT JUDGE




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